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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-340 (1, 3 9, 10)
                                                  §
                                                  §
THUONG HONG NGUYEN                                §
THUONG THOMAS-MORE VO                             §
STEVEN MARSHALL BEOHNING                          §
HUNG VAN DANG                                     §

                                                ORDER

       Defendant Thomas-More Vo filed an unopposed motion for continuance. (Docket Entry No.

234). The government and the codefendants are unopposed to the motion. The court grants the

motion. The court finds that the interests of justice are served by granting this continuance and that

those interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     May 7, 2012
       Responses are to be filed by:                   May 21, 2012
       Pretrial conference is reset to:                May 29, 2012 at 9:00 a.m.
       Jury trial and selection are reset to:          June 4, 2012 at 9:00 a.m.


               SIGNED on February 14, 2012, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
